        Case 1:22-cv-01643-RCL Document 34-1 Filed 02/09/24 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

GO PRO CONSTRUCTION, LLC,

                  Plaintiff/Counter-Defendant,     Civil Action No. 1:22-cv-01643-RCL

       v.

VALSTS NEKUSTAMIE IPASUMI,

                  Defendant/Counter-Plaintiff.

                                           ORDER

       Upon consideration of the Motion for Sanctions filed by Defendant/Counter-Plaintiff

Valsts Nekustamie Ipasumi (“VNI”), the Response to Order to Show Cause filed by Go Pro

Construction, LLC (“Go Pro”), the Reply to Order to Show Cause filed by VNI, the oral

arguments of counsel and findings of the Court on January 31, 2024, and the Petition for

Attorney’s Fees, Statement of Costs & Proposed Sanctions filed by VNI, it is hereby

       ORDERED that VNI’s Motion for Sanctions is GRANTED;

       ORDERED that, pursuant to Fed. R. Civ. P. 37(b)(2)(C), Go Pro Construction, LLC pay

to Valsts Nekustamie Ipasumi the total of $35,153.27, reflecting VNI’s reasonable expenses,

including attorneys’ fees, associated with its Motion to Compel, Motion for Sanctions, the

deposition of Go Pro’s corporate designee on July 6, 2023, and the deposition of Go Pro’s

custodian of records on January 29, 2024, within ______ days of this Order;

       ORDERED that Go Pro Construction, LLC’s affirmative claims against Valsts

Nekustamie Ipasumi are hereby dismissed with prejudice; and it is further

       ORDERED that default judgment be entered against Go Pro Construction, LLC as to all

claims brought by Valsts Nekustamie Ipasumi. A separate evidentiary hearing will be scheduled

in the normal course for a determination on damages.
        Case 1:22-cv-01643-RCL Document 34-1 Filed 02/09/24 Page 2 of 2




       SO ORDERED this _____ day of ________________, 2024.



                                      _______________________________
                                      The Honorable Royce C. Lamberth
                                      U.S. District Court Judge
                                      United States District Court for the District of Columbia


Electronic copies to all counsel of record




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